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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 1:20-CR-00068
                                         )
                   Plaintiff,            )   JOINT MOTION TO CONTINUE
                                         )   SENTENCING
      vs.                                )
                                         )   DATE: January 20, 2021
NICKIE MALI LUM DAVIS,                   )   TIME: 11:00 a.m.
                                         )   JUDGE: Leslie E. Kobayashi
                   Defendant.            )
                                         )
                                         )


             JOINT MOTION TO CONTINUE SENTENCING

      The UNITED STATES OF AMERICA, by its undersigned attorneys, and the

defendant, NICKIE MALI LUM DAVIS, and her attorneys, William C.

McCorriston, Esq. and Abbe David Lowell, Esq., jointly request that the current
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sentencing date of January 20, 2021, be vacated and that sentencing in this matter be

continued to a date to be determined. The parties jointly request that a telephone

status conference be set for February 19, 2021.

      On August 31, 2020, the defendant pleaded guilty to a one-count Information

charging her with aiding and abetting a violation of the Foreign Agents Registration

Act, 22 U.S.C. §§ 612 & 618(a). The defendant pleaded guilty pursuant to a plea

agreement which included a provision governing her cooperation. Plea Agreement

41-44, ECF No. 15. On October 20, 2020, in a related case, another defendant

pleaded guilty to conspiracy to violate the Foreign Agents Registration Act, in

violation of 18 U.S.C. § 371. See United States v. Elliott Broidy, 1:20-cr-210,

(D.D.C. Oct. 20, 2020).

      The government’s investigation continues. Until recently, negotiations to

resolve potential additional charges as to additional defendant(s) were ongoing, but

those negotiations have concluded unsuccessfully.           The government thus

anticipates that the defendant’s potential cooperation will continue through the

resolution of additional charges against additional subject(s). The government will

be able to provide the Court with the general time frame for any additional charges

by the February 19, 2021, status conference.




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                          CERTIFICATE OF SERVICE

       I hereby certify that, on the dates and by the methods of service noted below,
a true and correct copy of the foregoing was served on the following at their last
known addresses:

Served Electronically through CM/ECF:

      Abbe Lowell, Esq.
      William McCorriston, Esq.
      David Minkin, Esq.

Attorneys for Defendant
NICKIE MALI LUM DAVIS

DATED: December 9, 2020

                                                    ________________________
                                                    John D. Keller
